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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,


            Plaintiff,                      Hon. Trevor N. McFadden


      v.                                    Criminal No. 21-00037-TNM


TIMOTHY LOUIS HALE-CUSANELLI,


            Defendant.



DEFENDANT’S REPLY TO THE GOVERNMENT’S OPPOSITION TO
     DEFENDANT’S MOTION FOR MODIFICATION OF BOND

      Defendant files the instant reply to the Prosecution’s Opposition to

Defendant’s Motion for Modification of Bond. Defendant incorporates by

reference all arguments made in his original Motion for Bond Review and

Motion for Modification without repeating those arguments here. In the

instant motion defendant will address the Prosecution’s Opposition.

      Preventive detention principally addresses two issues: danger and

risk of flight. In the prosecution’s Opposition they do not claim that
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defendant’s release presents a risk of flight. They focus principally on their

claim that defendant’s release poses a “danger” because he professes to

be a white supremacist, antisemitic and racist. Without conceding the

accuracy of those allegations, the defense notes that notwithstanding that

defendant may have beliefs regarding race that are repugnant, the issue at

hand is whether defendant’s conditional release into the community

presents a danger to other persons in the community. It is in that regard

the prosecutions claims are lacking.

        The prosecution’s motion demonstrates that the prosecution

conducted a massive and thorough investigation into the defendant. As

noted, they have interviewed 44 people who know the defendant regarding

his background. Although many claim the defendant holds beliefs

regarding race that are abhorrent, apparently none have pointed to a single

instance where defendant has engaged in any violent act against any

person.1 Apparently. none have ever pointed to a single instance where

defendant ever attempted to physically harm a person let alone actually

physically harmed anyone. As noted previously, defendant has virtually no

criminal record, let alone any record of violent crimes.




1
    The prosecution has not referenced any.
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      Defendant has served for approximately 11 years in the Army

reserves. There have been no instances where defendant has ever been

found to have engaged in any inappropriate conduct in connection with his

military service. Defendant has worked as a private security contractor for

HBC Inc. on a Naval Base. While on duty he is required to carry a firearm,

usually a 9mm pistol, occasionally a shotgun. There have been no

instances where defendant has ever been found to have engaged in any

inappropriate conduct in connection with his work as a security officer let

alone anything violent. In both settings defendant works with numerous

colleagues who are African American and other diverse ethnic

backgrounds. There is no indication defendant has ever been involved in

any violent confrontations, altercations or hostilities with any of his

colleagues. To the contrary, his immediate supervisor at the Navy Base

Sgt. John Getz wrote a letter of support attesting to the fact that defendant

was not a violent person, that his interactions with colleagues are

appropriate and respectful regardless of the race of the co-workers. As the

prosecution pointed out in their Opposition, Sgt. Getz is aware that

defendant is a Holocaust Denier, has expressed views that are Antisemitic

and consistent with being a White Supremacist. Sgt. Getz has chastised

Defendant at work for making inappropriate remarks and “jokes.”


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Notwithstanding Defendant expressing sentiments that are offensive and

inappropriate, Sgt. Getz2 clearly stated that Defendant is neither violent nor

dangerous. Furthermore, Sgt. Getz noted that Defendant serves as a Union

Representative on behalf of all his coworkers. He maintains a good

working relationship with all co-workers including those who are non-white.3

      The prosecution claims that defendant’s release poses a danger to

the community because he has made reference to the desirability of a civil

war as expressed in some social media platforms and text messaging.

However, there is no indication defendant ever did anything in relation to

any potential violent act. No weapons nor explosives have ever been found

nor attributed to the defendant. Defendant is not a member of any group,

let alone any group advocating violence, ethnic cleansing, sedition or any

other violence. There is no evidence Defendant did anything in terms of

taking any steps towards committing any violent act.




2
  In addition to supervising Defendant at HBC as a security officer, Sgt.
Getz is also a Platoon Sgt. In the United States Army. As stated in his
letter of support, he would be proud to have Defendant serve under him in
any of the units he supervises in the army.
3
  In addition to his co-workers, for the last 3 years up until his incarceration
defendant has shared an apartment with another active military person who
is African American.
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     Obviously, the prosecution has thoroughly reviewed what are

hundreds if not thousands of hours of recordings of the January 6, 2021,

events at the Capitol. They have identified defendant in those recordings

and have included some of those images in their pleadings in this case.

Notwithstanding the rampant wide spread violence that occurred that day,

between law enforcement and the protesters, there is no evidence nor

allegation that defendant ever attempted to injure any other person in any

way. If defendant did not engage in violence during the melee that

occurred during the January 6 disturbance, it should be safely inferred that

he is not inclined to engage in violence, even where violence is pervasive.

       What is revealing in the prosecution’s pleadings is the argument

they are not able to make: they maintain that Hale-Cusanelli's release

presents an unreasonable risk of danger when they cannot point to a single

instance when Hale-Cusanelli ever physically injured another person,

attempted to injure another person, expressed an intent to injure anyone,

possessed a weapon4 or participated in any plan to injure anyone. There is

ample evidence that Hale-Cusanelli was present and surrounded by others

who were actively engaged in violence on January 6. However, there is no


4
 He of course has lawfully possessed weapons in connection with his
military service and work as a security officer. However, he owns none.
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indication nor claim that he ever was a participant in the violence that was

occurring around him. The allegation is that he traveled to Washington after

work to hear the President’s speech and to protest. At the time while others

appeared in “body armor” prepared for violence, Defendant bought a suit

and tie for the occasion. He marched to the Capital as part of the protest to

stop the steal and followed others into the Capital where he did not break

anything, steal anything nor try to hurt anyone.

      The prosecution’s argument is that defendant has expressed

reprehensible beliefs, therefore, he is dangerous. However,

notwithstanding his expressing those beliefs, he has been a law-abiding

citizen his entire life except for possibly the alleged actions he took on

January 6, 2021. Even when involved in that activity he did not evidence

any intent, desire or attempt to physically injure anyone. He has honorably

served his country through his military service for the last 11 years, he has

been gainfully lawfully employed. Past is prologue. If released it may be

safely assumed that defendant will resume his life as an honest hard

working citizen who has no involvement in criminal activity. He has not

physically injured anyone in the past, there is no reason to believe he will

do so in the future. His alleged involvement in the instant case is an

aberration that is not likely to be repeated. His involvement in the events of

                                       6
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January 6, 2021, were motivated by patriotic zeal. He considers himself a

loyal patriotic United States citizen who pledged to serve his country, to

defend it against enemies foreign and domestic. His actions on January 6,

2021, were not intended to subvert the United States but to defend it5. Like

millions of others, he was gullible enough to be misled by the deception of

the then President of the United States. He was told that the “election had

been stolen” and it was the duty of citizens to “fight like hell to prevent the

steal.” At the time the deception was being parroted by numerous elected

officials as well as other charlatans masquerading as journalists.

Defendant believed them. He was motivated by a desire to serve and

protect his country. Obviously, his belief was ill founded but well

intentioned.


      WHEREFORE for the foregoing reasons, and any others which may

appear at a full hearing on this matter, and any others this Court deems just




5
  The defense recognizes that “being misled by the President” is not likely
to be successful as a legal defense to the charges at issue. However, in
assessing the danger the defendant’s release pending trial presents, the
defendant’s motivation is germane. It is noteworthy that having been misled
to his detriment in the past, defendant has learned his lesson and is less
likely to commit the same error again.
                                        7
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and proper, defendant through counsel, respectfully requests that he be

released on modified conditions.


                                   Respectfully submitted,


                                   _______/s/____________
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                                   Counsel for Timothy Hale-Cusanelli



                       CERTIFICATE OF SERVICE


       I certify that on March 22, 2021, I caused a copy of the foregoing
Memorandum to be filed with the Clerk using the CM/ECF System which
will send notification of this filing to all parties.
Courtesy copies were sent by email to the assigned AUSAs.


                                         _____/s/____________________
                                         Jonathan Zucker




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